
66 So. 3d 1085 (2011)
Arlette DEANDRADE, Appellant,
v.
U.S. BANK NATIONAL ASSOCIATION, etc., Appellee.
No. 5D10-583.
District Court of Appeal of Florida, Fifth District.
August 16, 2011.
Arlette Deandrade, Kissimmee, pro se.
Andrew D. Manko, of Carlton Fields, P.A., Tallahassee, and Michael K. Winston and Dean A. Morande, of Carlton Fields, P.A., West Palm Beach, for Appellee.
PER CURIAM.
AFFIRMED. See Riggs v. Aurora Loan Servs., LLC, 36 So. 3d 932 (Fla. 4th DCA 2010), review denied, 53 So. 3d 1022 (Fla. 2011); see also Citibank v. Dalessio, 756 F. Supp. 2d 1361 (M.D.Fla.2010).
SAWAYA, MONACO and TORPY, JJ., concur.
